Case 1:18-cv-25106-KMW Document 128 Entered on FLSD Docket 01/21/2020 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 18-cv-25106-WILLIAMS/MCALILEY

   UNITED AMERICAN CORP.,

                 Plaintiff,

   v.

   BITMAIN, INC., et al,

              Defendants.
   ___________________________________/

                REPORT AND RECOMMENDATION RECOMMENDING
                      DISMISSAL WITHOUT PREJUDICE OF
               DEFENDANTS SAINT BITTS LLC AND AMAURY SECHET

          On January 21, 2020, I denied Plaintiff United American Corp.’s Motion for 90-Day

   Extension of Time to Serve Certain Foreign Defendants. (ECF No. 127). The nonmovants

   requested in their opposition that the Court “dismiss from the case any Defendant not

   served by October 8.” (ECF No. 100 at 5). To this date, Plaintiff has not served two foreign

   defendants: Saint Bitts LLC and Amaury Sechet.

          Where a plaintiff fails to serve foreign defendants with due diligence, the Court may

   dismiss the foreign defendants. Harris v. Orange S.A., 636 F. App’x 476, 485 (11th Cir.

   2015). Having found that Plaintiff’s efforts to serve foreign defendants Saint Bitts LLC and

   Amaury Sechet did not display due diligence, I respectfully recommend that the Court

   dismiss without prejudice Defendants Saint Bitts LLC and Amaury Sechet. 1


   1
     Defendants Bitmain Technologies Ltd. and Jihan Wu have filed a motion that asks for their
   dismissal because, among other reasons, service was untimely. (ECF No. 116 at 11). I will address
Case 1:18-cv-25106-KMW Document 128 Entered on FLSD Docket 01/21/2020 Page 2 of 2




                                          Objections

          No later than 14 days from the date of this Report and Recommendation the

   parties may file any written objections to this Report and Recommendation with The

   Honorable Kathleen M. Williams, who is obligated to make a de novo review of only those

   factual findings and legal conclusions that are the subject of objections. Only those

   objected-to factual findings and legal conclusions may be reviewed on appeal. See Thomas

   v. Arn, 474 U.S. 140 (1985), Henley v. Johnson, 885 F.2d 790, 794 (11th Cir. 1989), 28

   U.S.C. § 636(b)(1), 11th Cir. R. 3-1 (2016).

          RESPECTFULLY RECOMMENDED in Chambers at Miami, Florida, this 21st

   day of January 2020.



                                             ____________________________________
                                             CHRIS McALILEY
                                             UNITED STATES MAGISTRATE JUDGE


   cc:    The Honorable Kathleen M. Williams
          All counsel of record




   that argument in a separate report.
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